                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                                 CASE NO. 6:25-mj-1031-RMN

CAROLINA AMESTY

   DEFENDANT’S RESPONSE TO GOVERNMENT’S MOTION FOR
EXTENSION OF TIME BY WHICH INDICTMENT/INFORMATION MUST
                        BE FILED

      Carolina Amesty, through her undersigned counsel, files this response to the

government’s Motion for an Order extending the time for the return of an indictment

or information pursuant to 18 U.S.C. § 3161(b) through and including August 22,

2025. Doc. 25. Ms. Amesty joins in the government’s request to this Court for an

extension of the deadline to indict and believes that a continuance would serve the

ends of justice for the reasons set forth below.

                                  INTRODUCTION

      On July 11, 2025, the government filed a motion to extend time for the return

of an indictment. Doc. 25. In an example of the government’s overzealousness in

this case, the government filed its July 11 motion during the parties’ meet and confer

process, despite defense counsel advising the government that they had edits to the

proposed motion.

      The following describes the circumstances of this case and Ms. Amesty’s

position concerning the basis for extension of the speedy indictment deadline.
                         PROCEDURAL BACKGROUND

      On January 16, 2025, a mere four days before the change in administration,

the government bypassed standard process of indictment by grand jury and charged

Ms. Amesty by criminal Complaint for alleged violations of 18 U.S.C. § 641 (theft of

government property). Doc. 1. On January 30, 2025, Ms. Amesty executed a

waiver of the speedy indictment or information period. Doc. 11-1. On February 3,

2025, the parties filed a joint motion to extend time to file an indictment or

information, which the Court granted on February 5, 2025. Doc. 11; Doc. 12. The

Court found that the time from January 21, 2025, through April 21, 2025, was tolled

under 18 U.S.C. § 3161(b) and (h)(7). Doc. 12.

      Ms. Amesty’s initial appearance was held on February 18, 2025. Doc. 13. At

that hearing, the Court acknowledged the peculiar sequencing of the government’s

election to proceed by criminal Complaint without an indictment. Ms. Amesty’s

counsel reserved the right to receive a probable cause hearing. On April 15, 2025,

the parties executed a second waiver of the speedy indictment or information period,

through June 20, 2025. Doc. 21-1. In connection with that waiver, the parties filed a

second joint motion for an extension of time by which an indictment or information

must be filed, which the Court granted on April 17, 2025. Doc. 21; Doc. 22. The

Court found that the time from April 21, 2025, through June 20, 2025, was

excludable under 18 U.S.C. § 3161(h)(7). As set forth further below, during this

time, counsel for Ms. Amesty presented information to the government regarding



                                           2
material inaccuracies and defects in the government’s hastily-filed and politically

motivated Complaint.

      On June 3, 2025, Ms. Amesty executed a third waiver of the speedy

indictment or information period through August 22, 2025. Doc. 23-1. In

connection with that waiver, the parties filed a third joint motion for an extension of

time by which an indictment or information must be filed. Doc. 23. The Court

partially granted that motion, granting an extension through July 23, 2025, and

finding that the additional time was excludable under 18 U.S.C. § 3161(h)(7). Doc.

24. The Court ruled that any further extension was not warranted based on the

information before it and informed the parties that a detailed factual proffer would be

necessary if they sought any further continuances. Id.

                                    DISCUSSION

      Counsel for the government and Ms. Amesty currently are engaged in

discussions about the disposition of this case, and it is defense counsel’s position that

the charges are baseless and the case should be dismissed. On January 13, 2025,

counsel for Ms. Amesty sent the government a letter advising that there were

numerous factual and legal errors in its investigation. Further, counsel requested the

opportunity to make a presentation of exculpatory evidence to the government before

the government brought any charges.

      On January 16, 2025, without providing defense counsel an opportunity to

present exculpatory evidence, then United States Attorney Roger Handberg (who

strangely filed a personal appearance in this case) authorized the filing of the

                                            3
operative criminal Complaint. Despite U.S. Attorney Handberg’s hasty charges

made just days before the inauguration, the government continues to investigate

whether a crime has even occurred, and the parties have continued to engage in the

discussions that began—and should have been allowed to reach completion—before

the Complaint was filed.

      Ms. Amesty is innocent. The Economic Injury Disaster Loans in question—

primarily to Christian organizations—were obtained appropriately in good faith and

with no misrepresentations. Indeed, underscoring the utter lack of any criminal

intent, Ms. Amesty spent over two hours on the phone with the Small Business

Administration to ensure complete compliance with the law. These are not the

actions of a criminal but a person who tried to—and did—get it right. Five of the

loans already have been repaid in full, and there has not been a single missed

payment on any of the remaining loans. Fatal to the government’s flawed

prosecution is the undeniable fact that the government has not lost a cent, and the

collateral on each loan exceeds the amount of the loan. Thus, there has been no loss

to the government. While scores of other cases with far worse allegations have been

handled with declined prosecutions or civil resolutions, this prosecution, which was

initiated days before the inauguration, is the quintessential example of the last

Department of Justice’s weaponization to settle political scores.

      Over the course of the past few months, Ms. Amesty’s counsel has provided

extensive exculpatory information to the government including dozens of pages of

detailed summaries and letters. Most recently, on June 13, 2025, defense counsel

                                           4
provided a 22-page letter and 141 pages of exculpatory documents setting forth in

detail additional reasons why no crime has occurred. The government is

undertaking a review of this exculpatory information but represented that it requires

additional time to carry out its obligations to fully review and consider these

materials in its decision on how to proceed. Justice Manual § 9-27.300.

      It is incumbent upon the government to review these materials fully prior to it

making a final decision as to the disposition of this matter. Undersigned counsel

firmly believes—as set forth in the Justice Manual—“that, as a result of a change in

the evidence or for another reason, a charge is no longer readily provable or

appropriate.” Id.




                                           5
                                   CONCLUSION

      For these reasons, Ms. Amesty joins in the government’s request to this Court

for an extension of the deadline to indict and believes that a continuance would serve

the ends of justice by providing the government with additional time for full

consideration of the exculpatory materials provided by Ms. Amesty and for

additional discussions. If the Court denies the requested extension, Ms. Amesty

anticipates moving to dismiss the criminal complaint, or, in the alternative, for a

probable cause hearing.

                                               Respectfully submitted,

                                               By: /s/ Bradley J. Bondi
                                               Bradley Bondi, Esq.
                                               Florida Bar No. 162396
                                               Paul Hastings LLP
                                               2050 M St NW
                                               Washington, DC 20036
                                               Telephone: (202) 551-1701
                                               Facsimile: (212) 318-6601
                                               Email: Bradbondi@paulhastings.com




                                           6
U.S. v. CAROLINA AMESTY                           Case No. 6:25-mj-1031-RMN

                            CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2025, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

       Diane Hu
       Megan Testerman
       Attorneys for government




                                                By: /s/ Bradley J. Bondi
                                                Bradley Bondi, Esq.
                                                Florida Bar No. 162396
                                                Paul Hastings LLP
                                                2050 M St NW
                                                Washington, DC 20036
                                                Telephone: (202) 551-1701
                                                Facsimile: (212) 318-6601
                                                Email: Bradbondi@paulhastings.com




                                            7
